                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF ALABAMA
                                  SOUTHERN DIVISION

IN RE:                                         )
                                               )
DORIS Y. WOMACK                                )      Case No. 19-10789-JCO
                                               )
         Debtor.                               )

                    ORDER APPROVING REAFFIRMATION AGREEMENT
                               WITH MODIFICATION

         This matter came before the Court for a hearing on June 11, 2019, on the reaffirmation

agreement (Doc. 9) between the Debtor and Creditor, Ditech Financial, LLC filed pursuant to 11

U.S.C. § 524. The Debtor seeks to reaffirm an agreement with respect to real property identified

as 2619 Burgess Street, Mobile, Alabama. There is no presumption of undue hardship and the

debtor was represented by an attorney in negotiating the agreement. However, Creditor Ditech

Financial, LLC added a $250.00 “bankruptcy fee” to the debt, which the Court construes as an

attorney’s fee for reviewing the reaffirmation agreement.

         In accordance with applicable law and this District’s previous orders on the subject, the

Court has reviewed the attorney’s fee for reasonableness and finds that the fee should be

reduced. The Court therefore approves the reaffirmation agreement (Doc. 9) but modifies the

agreement to allow a reasonable attorney’s fee of $100.00 for a total reaffirmed amount of

$56,774.44.

         Dated: June 13, 2019




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